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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

  JOHN BURNS,

          Plaintiff,

  v.                                                    Case No. 8:15-cv-2330-T17-TBM

  MEDTRONIC, INC.;
  NEAL HORNE, individually;
  MIKE MATHIAS, individually; and
  CLAYTON DESANTIS, individually,

          Defendants.


                  PLAINTIFF’S AMENDED OPPOSITION TO
       DEFENDANTS’ JOINT AMENDED MOTION FOR SUMMARY JUDGMENT
                       (Corrected as to Docket Cites Only)

          Plaintiff John Burns, through undersigned counsel and pursuant to Middle District of

  Florida Local Rule 3.01(b), opposes Defendants’ Joint Amended Motion for Summary

  Judgment and Incorporated Memorandum of Law (Defendants’ “Motion”) (Dkts. 99-107). For

  the reasons discussed more thoroughly below, this Court should deny Defendants’ Motion in

  all respects.

                          MEMORANDUM OF LAW IN SUPPORT

  I.      The Record Supports Burns’ SOX Claim

          To establish a SOX retaliation claim, a plaintiff must prove that: 1) he engaged in

  protected activity; 2) the employer knew or suspected he engaged in protected activity; 3) he

  suffered an unfavorable personnel action; and 4) the protected activity was a contributing factor

  in the unfavorable action. Johnson v. Stein Mart, Inc., 440 Fed. App’x. 795, 2011 WL 3962819
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  (11th Cir. 2011) (citation omitted). Defendants argue that Burns’ retaliation claim fails as a

  matter of law because he failed to establish that he engaged in protected activity and, to the

  extent that he did, that he failed to establish that his protected activity was a contributing factor

  in the decision to demote and/or terminate him. (Dkt. 99 at 4-13). Further, Defendants dispute

  any knowledge of Burns’ protected activity prior to January 27, 2014; however, they concede

  that they were aware of Burns’ alleged protected activity after that date. (Dkt. 99 at 8).

  A.      There is a genuine issue of material fact regarding whether Burns engaged in
          protected activity under SOX.

          For Burns to receive protection under SOX, at the time he reported the alleged unlawful

  conduct, he must have had a subjectively and objectively reasonable belief that Defendants

  violated a federal law related to fraud against shareholders. Rhinehimer v. U.S. Bancorp

  Investments, Inc., 787 F.3d 797, 810 (6th Cir. 2015). “The subjective component is satisfied if

  the employee actually believed that the conduct complained of constituted a violation of

  relevant law.” Id. “‘Objective reasonableness is evaluated based on the knowledge available

  to a reasonable person in the same factual circumstances with the same training and experience

  as the aggrieved employee.’”; Wallace v. Tesoro Corp., 796 F.3d 468, 475 (5th Cir. 2015);

  Gale v. U.S. Dept. of Labor, 384 Fed. Appx. 926 (11th Cir. 2010).

          Defendants argue it is undisputed that Burns did not have a subjectively or objectively

  reasonable belief because Burns testified that he did not believe that the conduct he complained

  about would cause Medtronic to lose its Medicare contracts, significantly impact Medtronic’s

  financial stability or directly affect the shareholders. (Dkt. 99, at pp. 5-7, p. 4 fn. 1). Defendants

  concluded that this testimony is an admission by Burns that he did not actually (subjectively)

  believe that Medtronic’s shareholders would be defrauded by the misconduct he reported. (Id.).

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  However, Defendants mischaracterize Burns’ testimony. (Dkt. 99 at 6-7). He was never asked

  this question nor opined in his deposition testimony that the shareholders would not be

  defrauded by Medtronic’s actions. Even still, the inquiry is not whether what he complained

  about would have, actually did or will directly affect the shareholders. Instead, Burns must

  only show that he reasonably believed what he complained of violated federal law. Murray v.

  UBS Securities, LLC, Case No. 14 Civ 927 (KPF), 2017 WL 1498051 (S.D.N.Y. Apr. 25,

  2017) quoting Nielson v. AECOM Technology Corp., 762 F.3d 214, 224 (2d Cir. 2014)

  (quotation omitted). As the illegal practices Burns objected constitute fraud (i.e. Medicare

  fraud and kickback violations), this sufficiently relates to a fraud on the shareholders. Id.

  Further, Burns’ testimony does not establish that he actually believed the conduct complained

  of was lawful.1

          Contrary to Defendants’ argument, the record evidence supports that Burns both

  subjectively and objectively believed that the conduct to which he reported and/or complained

  violated federal laws relating to a fraud on the shareholders. Prior to making his reports, Burns

  was aware of Medtronic’s prior troubles in 2008 with Medicare fraud that resulted in a $75

  million settlement and culminated in Medtronic being placed under a five-year Corporate

  Integrity Agreement (“CIA”) with the government. (Dkt. 122, Corp. Rep. Rich 8:8-9:25;

  91:11-23; Dkt. 126 at ¶10). In fact, pursuant to the CIA, Medtronic had to train its employees

  to identify fraud, such as illegal kickback practices and Medicare billing fraud. (Dkt. 125-1 at

  MEDTRONIC 000066 (SEALED); Dkt. 125-2 at MEDTRONIC 0000868-870 (pp. 21-23)



  1
   Further, whether the government would decide to take action against Medtronic is not relevant to the standard
  under SOX.

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  (SEALED); Dkt. 126 at ¶10).2 Burns participated and completed that training and made clear

  that he believed that the conduct he complained of violated federal law based on the training

  Medtronic provided him. (Dkt. 118, Burns 7:24-9:13; 10:13-13:4; 14:16-15:1; 105:5-109:11;

  Dkt. 125-3 at Response No. 1; Dkt. 125-4 at Response No. 9). Further, Burns had independent

  knowledge of competitors in Medtronic’s industry having settled similar allegations of

  kickback charges for practices similar to those Burns reported and believed to be occurring.

  (Dkt. 126 at ¶10). Burns also sought an independent opinion from the Advanced Medical

  Technology Association as to the illegal practices he observed, who confirmed his subjective

  belief that the practices violated federal anti-kickback and other laws. (Dkt. 126 at ¶10). Thus,

  Medtronic’s conduct, if proven, related to a fraud on the shareholders.

           In addition, the fact that Medtronic investigated Burns’ allegations and issued

  discipline to another employee as a result of that investigation indicates that Medtronic

  believed that Burns’ allegations were subjectively reasonable. See Dkt. 125-5 (SEALED); Dkt.

  125-6 (SEALED); Dkt. 125-7; Collins v. Beazer Homes USA, Inc., 334 F. Supp. 2d 1365,

  1377-78 (N.D. Ga. 2004) (citing The Sarbanes-Oxley Act of 2002, Cong. Rec. S7418, S7420

  (daily ed. July 26, 2002), available at 2002 WL 32054527 (“Certainly, although not

  exclusively, any type of corporate or agency action taken based on the information, or the

  information constituting admissible evidence at any later proceeding would be strong indicia

  that it could support such a reasonable belief.”). Thus, there is sufficient evidence in the record

  for the trier of fact to conclude that Burns’ belief was subjectively reasonable and Defendants’



  2
    Pursuant to Plaintiff’s motion filed June 16, 2017 (Dkt. 112), Plaintiff conferred with Defendants regarding the
  filing of all supporting exhibits (previously designated as “Kersey Decl. Ex. #”).

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  Motion should be denied.

          Moreover, Plaintiff’s beliefs were objectively reasonable because if the activities to

  which he objected to and/or refused to participate in proved true, such activities appear to be

  illegal, and could have constituted a fraud on Medtronic’s shareholders. See U.S. ex rel.

  Hutcheson v. Blackstone Medical, Inc., 647 F.3d 377 (1st Cir. 2011) (allegations that a medical

  company paid physicians kickbacks in the form of exorbitant and illicit entertainment

  expenses, among other practices, stated a claim for a violation of the Anti-Kickback Statute);3

  U.S. ex rel. Armfield, III v. Gills, No. 8:07-cv-2374-T-27TBM (M.D. Fla. 2010) citing U.S.

  ex rel Clausen v. Laboratory Corporation of America, Inc., 290 F.3d 1301 (11th Cir. 2002)

  (seeking reimbursement from Medicare for services that were not rendered as billed, including

  where the provider did not perform or supervise the services claimed, constitutes a false claim,

  which “is ‘sine qua non’ of a False Claims Act violation.”). Defendants’ Motion should be

  denied because there is sufficient evidence in the record for the trier of fact to conclude that

  Burns’ sufficiently engaged in protected activity because his beliefs were both subjectively

  and objectively reasonable.

  B.      There is a genuine issue of material fact regarding whether Burns reported alleged
          unlawful conduct before January 27, 2014.

          Defendants argue that Burns did not report any alleged unlawful conduct before

  January 27, 2014, because Burns certified in 2014 compliance documents that he did not make

  any reports and testified that he never reported anything through the Voice Your Concern



  3
    See also United States ex rel. Kroening v. Forest Pharm., Inc., No. 12-CV-366, 2016 WL 75066, at *6 (E.D.
  Wis. Jan. 6, 2016) (“If a pharmaceutical company knowingly and willfully pays or offers to pay any remuneration
  to a physician in exchange for the physician prescribing a particular product, it violates the Anti-Kickback
  Statute.”).

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  Hotline. (Dkt. 99 at 8-9; Dkt. 118, Burns 165:23-167:15).

         While Burns did not make any reports directly to Medtronic’s compliance department

  prior to January 2014, Burns testified that he did in fact complain to his supervisors about the

  unlawful entertainment practices and superbilling issues prior to notice of his demotion. (Dkt.

  118, Burns 311:12-19; Dkt. 125-3 at Response No. 1; Dkt. 125-4 at Response No. 9; Dkt. 126

  at ¶16; Dkt. 125-18). That is all that is required to engage in protected activity under SOX. 18

  U.S.C. § 1514A(a)(1)(C) (an employee is protected when providing information “to…a person

  with supervisory authority over the employee or such other person working for the employer

  who has the authority to investigate, discover, or terminate misconduct”).

         Thus, the record evidence supports that a dispute of fact remains as to whether Burns

  engaged in protected activity prior to January 2014 and summary judgment must be denied.

  C.     There is no dispute that Defendants were aware of Burns’ protected activity after
         January 2014.

         There is no dispute that Defendants were aware of Burns’ allegedly protected activity

  after January 27, 2014 and during Medtronic’s investigation of Burns’ complaints in February

  2014. (Dkt. 125-18; Dkt. 125-19; Dkt. 125-20; Dkt. 126 at ¶15 and ¶16).

  D.     There is a genuine issue of material fact as to whether Burns’ reports of alleged
         unlawful conduct were a contributing factor to his demotion and termination.

         A “contributing factor” is “any factor, which alone or in combination with other factors,

  tends to affect in any way the outcome of the decision.” Lockheed Martin Corp. v. Admin.

  Review Bd., U.S. Dep’t of Labor, 717 F.3d 1121, 1136 (10th Cir. 2013) (citing Klopfenstein

  v. PCC Flow Techs. Holdings, Inc., No. 04–149, 2006 WL 3246904, at *13 (ARB, May 31,

  2006) (emphasis in original). The contributing factor standard “is broad and forgiving.” Id.


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  Notably, “the required showing to establish causation for a claimant under [SOX] is less

  onerous than the showing required under” other federal anti-retaliation laws. Id. at 1137.

         Under this standard, “[t]he plaintiff need not show that protected activity was a

  significant, motivating, substantial, or predominant factor in the adverse personnel action; ‘but

  rather may prevail by showing that the [defendant’s] reason, while true, is only one of the

  reasons for its conduct, and another [contributing] factor is the complainant’s protected

  activity.” Wallender v. Canadian Natl. Ry. Co., 2:13-CV-2603-DKV, 2015 WL 10818741, at

  *20 (W.D. Tenn. Feb. 10, 2015) (citing Bechtel v. Competitive Techs., Inc., ARB Case No.

  09–052, 2011 WL 4889269, at *7 (Dep’t of Labor Sept. 30, 2011) (citations omitted). “[T]he

  determination of whether the complainant has met his burden under SOX of proving

  ‘contributing factor’ causation does not involve the weighing of the respondent’s evidence of

  lawful, non-retaliatory reasons for its actions.” Id. However, proof that Burns’ protected

  activity was a contributing factor may be shown through “temporal proximity, indications of

  pretext, inconsistent application of an employer’s policies, shifting explanations for an

  employer’s actions, and more.” Id.

         1.      There is a genuine issue of material fact as to whether Burns’ protected
                 activity was a contributing factor to his demotion.

         There is sufficient evidence for a reasonable fact finder to conclude that Burns’

  protected activity was a contributing factor in the decision to demote him to a Clinical

  Specialist position—namely, indicia of pretext and comparator evidence. Specifically,

  Defendants claims that the basis for Burns’ demotion was that his allegedly declining sales no

  longer supported a full-time sales representative and that there were customer complaints.

                 i.       Pretext. Defendants’ stated reasons are pretextual.

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         Burns’ Sales. The record evidence casts doubt that declining sales were a legitimate

  reason for Burns’ demotion. For example, Horne claimed that Burns’ numbers began to decline

  in 2012, but at the end of 2012, Burns was one of the top Sales Reps in the entire country. (Dkt.

  116 at ¶1; Dkt. 125-8 at ¶3; Dkt. 125-21; Dkt. 125-22). Burns also received multiple awards

  for his good performance. (Dkt. 126 at ¶7).

         Further, when Horne informed Burns about the demotion to the Clinical Specialist role,

  he told Burns that his sales revenue no longer supported his territory and that the territory “no

  longer exists.” (Dkt. 125-8 at pp. 7-8). But that turned out not to be true either because Horne

  then assigned Jesse Turcott to Burns’ territory. (Dkt. 118, Horne 97:1-12; 100:18-101:10).

         Customer Complaints. Another basis Defendants claim they demoted Burns to the

  Clinical Specialist position was because of alleged complaints from physician customers. (Dkt.

  99 at p. 2). For instance, Horne stated that Dr. Jeffrey Rothfeld complained about Burns. (Dkt.

  125-8 at ¶5; Dkt. 118, Horne 50:24-51:6; 51:20-52:3; 78:8-79:6). However, Dr. Rothfeld

  denied ever complaining about Burns, said he was not aware of anyone at his practice

  complaining about Burns, and that in his opinion, Burns was “[p]robably the most effective

  sales rep in the area.” (Dkt. 123, Rothfeld 32:22-25; 33:15; 44:13-18). Dr. Rothfeld even went

  as far as to write Burns a letter of recommendation when Medtronic fired him. (Dkt. 125-9).

  Thus, the record evidence suggests that Horne made up the complaints by Dr. Rothfeld to

  fabricate a post hoc justification for Burns’ demotion.

         Defendants also misrepresented or mischaracterized incidents with Drs. Rivera and




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  Subbiondo to create reasons to demote Burns after the fact.4 (Dkt. 118, Burns 22:23-26:24;

  Dkt. 126 at ¶24-¶26). Notably, one of the alleged complaints Defendants rely on for the basis

  of demotion happened back in or around 2010; yet Medtronic, Horne nor Mike Mathias

  previously counseled Burns about this alleged complaint or even made Burns aware of the

  complaint. As for the alleged complaint involving Dr. Subbiondo, not only is it inadmissible

  hearsay, but again, neither Horne nor Mathias, the two management officials who allegedly

  received this complaint, investigated the complaint nor made Burns aware of the complaint at

  any time before he was notified of his demotion. (Dkt. 126 at ¶8).

                    ii.       Comparator Evidence. Moreover, Jesse Turcott had consistently low

  sales for several years and Defendants did not similarly attempt to demote Turcott. Rather, it

  rewarded him by giving him Burns’ territory. (Dkt. 125-21 (SEALED); Dkt. 121, Horne 97:1-

  12; 100:18-101:10).

           Further, even if Defendants’ stated reasons were true, based on this broad and forgiving

  standard, sufficient evidence remains for the trier of fact to conclude that Burns’ reports of

  suspected illegal conduct were a contributing factor to his demotion. Wallender, 2015 WL

  10818741, at *20.

           2.       There is a genuine issue of material fact as to whether Burns’ protected
                    activity was a contributing factor to his termination.

                    i.        Temporal Proximity. There was a concerted effort to get rid of Burns

  in close temporal proximity after he reported and objected to suspected illegal practices to

  Medtronic’s general counsel on January 27, 2014, and again in Medtronic’s investigation on

  4
    These complaints are inadmissible hearsay and should not be considered. Macuba v. Deboer, 193 F.3d 1316,
  1322 (11th Cir. 1999) (citing general rule that inadmissible hearsay cannot be considered on a motion for summary
  judgment).

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   February 25, 2014. Christina Rich investigated and interviewed Burns as part of that

   investigation on February 25, 2014, in which Burns again engaged in protected activity.

            Less than five months after reporting the suspected illegal activities to Medtronic’s

   counsel and less than four months again reporting and objecting to those same practices as part

   of Medtronic’s investigation of same, Defendants terminated Burns. Wiest v. Lynch, 15 F.

   Supp. 3d 543, 562 (E.D. Pa. 2014) (citing Zinn v. Am. Commercial Lines, Inc., ARB. No. 10-

   029, 2012 WL 1143309 (Dep’t of Labor Mar. 28, 2012) (“[A] temporal proximity of seven to

   eight months between protected activity and adverse action may be sufficient circumstantial

   evidence to prove that the protected activity contributed to the adverse action.”)).

                     ii.       Retaliatory Animus. The record evidence demonstrates that Horne and

   Clayton DeSantis harbored a retaliatory animus toward Burns after he engaged in protected

   activity. Specifically, Horne and DeSantis exchanged text conversations immediately

   following interviews by Rich of Burns’ allegations that a reasonable fact finder could infer that

   Burns’ protected activity contributed to his termination.5 For example, on March 4, 2014, just

   a week or so after Rich interviewed Burns, Horne texted DeSantis to inquire how his meeting

   with Burns to discuss Burns’ new Clinical Specialist role went:

            DeSantis:          “Like my new best friend. I made him say he understood about 6 times”

            Horne:             “Serious? Fuck! That means he is going to try to make it hard on
                               us. How about the canceled vacation?”

            DeSantis:          “He is not going anywhere”

   (Dkt. 125-10 at pp. 7-8 (SEALED)) (emphasis added). Horne and DeSantis made all kinds of


   5
     Significantly, both Horne and DeSantis, who were aware of the obligation to preserve evidence related to Burns’
   case as early as January 2014, deleted those text messages.

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   unreasonable and unprecedented demands of Burns, in retaliation for him reporting unlawful

   conduct. (Dkt. 126 at ¶14 and ¶17). The texts are indicative of Horne’s and DeSantis’

   retaliatory animus toward Burns—they were irritated that Burns agreed to comply with their

   unreasonable demands because it would make it harder for them to create a justification for his

   termination.

          In addition to canceling his vacation as noted in the text messages above, Medtronic

   engaged in many other acts of retaliation which create a genuine issue of material fact as to

   whether Burns’ protected activity contributed to his demotion and/or termination.

                  iii.       Pretext. To support their decision to terminate Burns, Defendants claim

   that they terminated Burns for being insubordinate and failing to follow the directives of

   management. However, these reasons again are not worthy of belief. And, even if proved to be

   true, the record evidence suggests that Burns’ protected activity tended to affect the decision

   to terminate him.

          More specifically, DeSantis falsely reported to Human Resources that nearly every one

   of Burns’ co-workers told DeSantis they were in fear of Burns, and made up Burns’ potentially

   violent nature to get Burns fired. DeSantis told HR that he fears Burns and believes Burns has

   the potential of being physically harmful, and that the same opinion had been shared with him

   by nearly everyone that works with Burns. (Dkt. 125-11). However, this is unsupported by the

   record evidence. DeSantis could only merely say that Burns’ “general attitude” was

   intimidating, and could not name a single specific example of Burns acting in a threatening

   manner toward anyone. (Dkt. 119, DeSantis 43:8-45:21). He had never heard of Burns being

   physically violent toward anyone. Id. In fact, DeSantis testified that actually, only two people


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   (out of more than 20 in the district) ever told him they were fearful of Burns, and for no other

   reason than his “general demeanor.” (Dkt. 119, DeSantis 46:6-13).

          In further efforts to get Burns fired, DeSantis falsely reported to HR that the team of

   Clinical Specialists was not comfortable working with Burns, “so a change needs to happen.”

   (Dkt. 125-11). However, DeSantis could not identify any Clinical Specialist that was

   uncomfortable working with Burns. (Dkt. 119, DeSantis 140:19-141:11). To the contrary, Joan

   Zettinger, one of the Clinical Specialists who worked closely with Burns both as a sales

   representative and as a Clinical Specialist, pleaded with Burns to stay at Medtronic, and wrote

   him a letter of recommendation when he was fired. (Dkt. 126 at ¶30).

          Horne falsely alleged that Burns intentionally changed his voicemail to go to the wrong

   person, but that is not true. (Dkt. 102-3; Dkt. 126 at ¶17). Horne made the false allegation to

   drum up reasons to have Burns terminated.

          Horne falsely alleged that Burns was not forwarding communications to Jesse Turcott.

   (Dkt. 102-3; Dkt. 126 at ¶17). Horne also could not name a single instance where any negative

   result occurred because Burns allegedly failed to forward information to Turcott. (Dkt. 121,

   Horne 175:3-8).

                  iv.       Inconsistent Policies. Defendants’ failure to consistently follow their

   policies and practices as it applied to Burns further suggests that Burns’ protected activity

   contributed to his termination. See Morrison v. Booth, 763 F.2d 1366, 1374 (11th Cir. 1985)

   (“Departures from normal procedures may be suggestive of discrimination”). For example,

   Medtronic purposefully sent Burns from Bradenton on assignment to Naples, more than 100

   miles away, on three separate occasions in a six-week period to punish Burns for engaging in


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   protected activity. (Dkt. 126 at ¶29). However, DeSantis admitted that this was not typical and

   “would never happen” and that instead there would be a zone shift where someone much closer

   to Naples would be assigned to help. (Dkt. 119, DeSantis 65:24-66:15).

          As another example, Horne and DeSantis created inconsistent and tedious

   “requirements” for Burns that did not apply to anyone else, then falsely accused Burns of

   deliberately failing to follow those instructions. (Dkt. 126 at ¶14; Dkt. 125-18). For instance,

   DeSantis, who was Burns’ boss at the time, said that they were supposed to use Salesforce.com

   to schedule appointments. (Dkt. 119, DeSantis 83:1-4). But Horne reprimanded Burns for

   using Salesforce.com (Dkt. 102-3) and said that the district was not using it. (Dkt. 121, Horne

   105:13-106:5). By creating conflicting directives, Horne and DeSantis could allege that Burns

   was “insubordinate” no matter what he did.

                  v.       Comparator Evidence. Treating Burns differently than his co-workers

   further demonstrates that his protected activity contributed to his demotion and/or termination.

   See Corbin v. Southland Intern. Trucks, 25 F.3d 1545 (11th Cir. 1994) (evidence that older

   employee engaged in same conduct but younger employee was not discharged, along with

   evidence that plaintiff was not given opportunity to agree to support changes, was sufficient

   evidence to avoid summary judgment); Delgado v. Lockheed-Georgia Co., a Div. of Lockheed

   Corp., 815 F.2d 641 (11th Cir. 1987) (where employer relies on violation of work rule, plaintiff

   can prove retaliation by showing he did not violate a work rule or by showing other employee

   not within protected class who engaged in similar violations were treated differently). For

   example, Horne and DeSantis said that Burns used Outlook when he should not have. (Dkt.

   102-3). While DeSantis said there was a company directive not to use Outlook to schedule


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   appointments starting in or around 2011 (Dkt. 119, DeSantis 82:7-83:4), Sales Rep Brian

   Haworth, one of the very people engaging in the illegal activities to which Burns complained,

   said that he used Outlook regularly to schedule appointments. (Dkt. 120, Haworth 80:9-82:6;

   Dkt. 125-12). Haworth also acknowledged that it was typical to schedule appointments

   through Outlook as well as Salesforce.com and “maybe” even through texts messages. (Dkt.

   120, Haworth at 20:6-21:11).

            Horne and DeSantis also accused Burns of failing to provide Turcott with sufficient

   information to do his job. But others were not reprimanded for providing the same level of

   information as Burns. (Dkt. 120, Haworth 80:9-82:6; Dkt. 125-12). See Corbin and Delgado,

   supra.

                   vi.       Shifting Reasons. Defendants now shift one of the reasons they

   allegedly terminated Burns. An employer’s shifting explanations for its actions could

   demonstrate a contributing factor. See Wallender, 2015 WL 10818741, at *20 (citing Bechtel

   Construction Co. v. Sec. of Labor, 50 F.3d 926, 935 (11th Cir. 1995) (“The pretextual nature

   of Bechtel’s terminating Nichols is further demonstrated by Bechtel’s shifting explanations for

   its actions.”). Initially, Medtronic never claimed at the time of Burns’ termination or to OSHA

   in its position statement that the allegations regarding the bumper stickers had anything to do

   with Burns’ termination (Dkt. 125-19). Defendants now claim that the alleged bumper sticker

   incident also contributed to Burns’ termination. Moreover, any allegations related to the

   bumper sticker issue are false, which is further indicated by the fact that Defendants did not

   discipline Burns for this incident. (Dkt. 126 at ¶28; Dkt. 125-20 at p. 6).

                   vii.      Failure to Investigate. The various times Defendants failed to


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   investigate whether allegations against Burns were true is evidence of retaliatory motive and

   that Burns’ protected activity contributed to his termination. See Mastro v Potomac Elec.

   Power Co., 371 U.S. App. D.C. 68 (D.C. Cir. 2006); E.E.O.C. v. Chevron Phillips Chemical

   Co., LP, 570 F.3d 606, 624-25 (5th Cir. 2009).

             When Jesse Turcott alleged that Burns failed to forward him cases on April 25, 2014,

   Burns said the cases were already on Turcott’s schedule. (Dkt. 118, Burns 298:12-22). Turcott

   said they were not. DeSantis just took Turcott’s word for it and made no effort to see whether

   Burns was correct. (Dkt. 119, DeSantis 124:17-125:5). Then DeSantis wrote Burns up for the

   incident, alleging that Burns’ typo was intentional. (Dkt. 119, DeSantis 132:7-21; Dkt. 125-

   13).

             When Horne and DeSantis said that Burns bullied a co-worker, Jennifer Henuber (Dkt.

   125-14; Dkt. 121, Horne 172:22-174:11; Dkt. 119, DeSantis 76:23-77:2), they again failed to

   investigate it. Horne never spoke to Burns about the allegations. (Dkt. 121, Horne 174:8-11).

   He sent DeSantis to speak with Burns. Id. But DeSantis admitted he never spoke to Burns to

   get his side of the story, despite also admitting that his practice was always to get both sides of

   the story. (Dkt. 119, DeSantis 178:1-9). Moreover, even if Henuber did make the allegations,

   they are inadmissible hearsay and false. 6 (Dkt. 126 at ¶29).

             For the above reasons, there is sufficient evidence in the record for the trier of fact to

   reasonably find that Burns’ protected activity contributed to his demotion and/or termination.

   E.        Defendants have not shown by clear and convincing evidence that they would have
             terminated Plaintiff even absent any protected activity.



   6
       See FN 3.

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           Because a trier of factor could conclude that Plaintiff established a prima facie case of

   SOX retaliation, the burden rests with Defendants to show by clear and convincing evidence

   that they would have terminated Plaintiff absent the protected activity. Van Asdale v.

   International Game Technology, 577 F.3d 989 (9th Cir. 2009). Notably, Defendants’ Motion

   did not even address this part of the burden shifting analysis. As such, by their own silence,

   Defendants concede a genuine dispute of material fact exists as to whether Defendants met this

   high standard. Notwithstanding, for the reasons outlined above in Section C, a dispute of fact

   remains as to whether Defendants can meet their burden.

   II.     The record supports a Florida Whistleblower Act claim.

           To prove a prima facie case for retaliation under the Florida Private Whistleblower Act

   (“FWA”), a plaintiff must prove: 1) that he objected to or refused to participate in any activity

   in which plaintiff reasonably believed to be an illegal activity, policy or practice; 2) he suffered

   an adverse action; and 3) the adverse employment action was causally linked to his protected

   activity. Aery v. Wallace Lincoln-Mercury, LLC, 118 So. 3d 904 (Fla. 4th DCA 2013).7

           “Once the prima facie case of retaliation is established, the employer must proffer a

   legitimate, non-retaliatory reason for the adverse action[s]”. Id. (citations omitted). Plaintiff

   then bears the burden to prove that the employer’s proffered reason(s) are pretextual. Id.

           When viewing the evidence in the light most favorable to Plaintiff, there is sufficient

   circumstantial evidence for Plaintiff’s retaliation claim to survive summary judgment.



   7
     Courts (federal and state) interpret FWA claims using the McDonnell Douglas burden shifting standards applied
   in Title VII retaliation claims. See Castillo v. Roche Laboratories, Inc., 467 Fed. Appx. 859 (11th Cir. 2012)
   (applying Title VII retaliation law to FWA claims); Sierminski v. Transouth Fin. Corp., 216 F.3d 945, 950 (11th
   Cir. 2000) (same); Aery, 118 So. 3d at 912-913 (recognizing that FWA retaliation claims are analyzed in the same
   manner as Title VII retaliation claims).

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   Evidence of pretext supports an inference of retaliation and precludes summary judgment.

   Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 147 (2000) (the trier of fact may

   “infer the ultimate fact of [retaliation] from the falsity of the employer’s explanation”).

            A.     Plaintiff established a prima face case of retaliation.

            There is no dispute that Burns suffered adverse employment actions when Defendants

   demoted Plaintiff to the Clinical Specialist position in March 2014 and later terminated his

   employment on May 2, 2014. (Dkt. 122, Corp Rep. Rich 102:7-16; Dkt. 119, DeSantis 156:23-

   157:5)

                   1.       Burns engaged in statutorily-protected expression as defined under
                            the Act.

            False Claims Act. Burns objected to performing certain billing practices management

   expected him, other sales representatives and clinical specialists to engage in which he

   reasonably believed to be illegal and constituted Medicare fraud in violation of the FCA. (Dkt.

   118, Burns 37:7-40:24). Specifically, Burns objected that management expected Medtronic

   employees to fill out superbills for submission to Medicare on behalf of Medtronic’s clients,

   even though the physician did not actually render services constituted Medicare fraud. (Id.).

            Defendants argue that Burns cannot establish protected activity because he did not have

   a reasonable belief that what he objected to violated the FCA. (Dkt. 99 at 14). Defendants’ sole

   support for this contention is that Burns previously filed and withdrew an FCA case based on

   similar allegations. (Dkt. 99 at 14). The fact that Burns withdrew his prior FCA case and/or

   that the government did not pursue the case does not mean that Burns’ beliefs were not




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   reasonable.8 Nor does it mean that what Burns’ objected to was not unlawful. To the contrary,

   despite the outcome of his prior FCA claim, and contrary to Defendants’ argument, Burns

   actually believed that the practices to which he disclosed and/or objected to were illegal. (Dkt.

   118, Burns 98:16-101:14; Dkt. 126 at ¶10).

              Further, the fact that Medtronic investigated Burns’ complaints also suggests that

   Burns’ beliefs were reasonable. See Mastro v Potomac Elec. Power Co., 371 U.S. App. D.C.

   68 (D.C. Cir. 2006); E.E.O.C. v. Chevron Phillips Chemical Co., LP, 570 F.3d 606, 624-25

   (5th Cir. 2009). Medtronic’s own policies and training further supports that Burns’ objections

   were subjectively reasonable. (Dkt. 126 at ¶10).

              Moreover, Burns’ beliefs were objectively reasonable. Objective reasonableness is

   measured against existing substantive law. Clover v. Total System Services, Inc., 176 F.3d

   1346 (11th Cir. 1999) (quoting Harper v. Blockbuster Entertainment Corp., 139 F.3d 1385,

   1388 n. 2 (11th Cir. 1998) (failure to charge the employee who opposes an employment

   practice with substantive knowledge of the law “would eviscerate the objective component of

   our reasonableness inquiry”). The billing practices that Burns objected to, if true, would

   constitute a violation of the FCA. See U.S. ex rel. Armfield, III v. Gills, No. 8:07-cv-2374-T-

   27TBM (M.D. Fla. 2010) citing Clausen, 290 F.3d at 1311 (11th Cir. 2002) (seeking

   reimbursement from Medicare for services that were not rendered as billed, including where

   the provider did not perform or supervise the services claimed, constitutes a false claim, which

   “is ‘sine qua non’ of a False Claims Act violation.”).

              Anti-Kickback Statute. Burns also objected to certain entertainment practices


   8
       There was never a finding as to whether any violations occurred.

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   management expected him and other sales representatives to engage that he reasonably

   believed constituted violations of the Anti-Kickback Statute, 42 U.S.C. §1320a-7b(b)

   (“AKS”). (Dkt. 121, Horne 238:10-239:14; Dkt. 125-15; Dkt. 126 at ¶10, ¶11, ¶13, ¶19, ¶20

   and ¶21). Specifically, Burns objected to sales representatives, such as Brian Haworth and Neal

   Horne, paying for and taking physicians on lavish fishing and skiing trips to incentivize the

   purchase of Medtronic’s products paid for by Medicare. (Id.). If proved true, such conduct

   would violate the AKS. See U.S. ex rel. Hutcheson, 647 F.3d 377 (allegations that a medical

   company paid physicians kickbacks in the form of exorbitant and illicit entertainment

   expenses, among other practices, stated a claim for a violation of the Anti-Kickback Statute).9

            Defendants argue that Burns cannot establish protected activity because he did not have

   a reasonable belief that what he objected to violated the AKS. Here, again, Burns actually

   believed that the practices to which he disclosed and/or objected to were illegal.10 Even more

   compelling is that Medtronic’s own policies support Burns’ reasonable belief because it

   specifically recognizes the illegality of improper activities used to influence customers as

   violating the AKS. (Dkt. 125-2 at p. 22 (SEALED)). Medtronic also recognizes that employees

   paying out of their own pockets to entertain customers would also run afoul of the AKS. (Dkt.

   125-1 at p. 11 (SEALED); Dkt. 125-2 at p. 7 (SEALED)). Further, Medtronic trains its

   employees to recognize these types of potential violations. (Dkt. 125-1 (SEALED); Dkt. 125-

   2 (SEALED); Dkt. 125-16 (SEALED); Dkt. 125-17 (SEALED)). As such, a dispute of fact

   remains as to whether Burns reasonably believed what he objected to violated a law, rule or


   9
     See also United States ex rel. Kroening supra FN 2 (“If a pharmaceutical company knowingly and willfully pays
   or offers to pay any remuneration to a physician in exchange for the physician prescribing a particular product, it
   violates the Anti-Kickback Statute.”).
   10
      See Dkt. 118, Burns 10:5-12; 14:16-15:1; 45:10-46:6; 215:14-24; 238:18-239:11.

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   regulation.

                  2.       Plaintiff sufficiently established causal connection and Defendants’
                           Proffered Reasons for Plaintiff’s Demotion and Termination are
                           Pretextual.

          This Court construes the causal link element “broadly so that a plaintiff merely has to

   prove that the protected activity and the negative employment action are not completely

   unrelated.” Pennington v. City of Huntsville, 261 F.3d 1262, 1266 (11th Cir. 2001). There is a

   genuine dispute that Defendants’ decisions to demote and/or terminate Burns was not

   “completely unrelated” from Burns’ preceding series of protected activity.

          All that is necessary to avoid summary judgment on the issue of pretext is a showing

   that there is evidence to cast doubt on the proffered reason such that a reasonable fact finder

   could conclude the proffered reason is not the real reason for the action. Combs v. Plantation

   Patterns, 106 F.3d 1519, 1538 (11th Cir. 1997). Evidence of pretext includes anything that

   tends to show the employer’s legitimate non-retaliatory reason should not be believed or that,

   considering all the evidence, a retaliatory reason more likely motivated the decision. Combs,

   106 F.3d at 1538; Mayfield v. Patterson Pump Co., 101 F.3d 1371, 1376 (11th Cir. 1996);

   Hairston v. Gainesville Sun Publ’g Co., 9 F.3d 913, 921 (11th Cir. 1993) (stating that, to

   establish pretext, “plaintiff is not required to introduce evidence beyond that already offered

   to establish the prima facie claim”). For the reasons discussed in detail in Section I.D, supra,

   the evidence supports that Defendants’ proffered legitimate reasons for demoting and

   terminating Burns are causally related to Burns’ protected activity and are a pretext for

   retaliation. Wolf v. MWH Constructors, Inc., 34 F. Supp. 3d 1213, 1227 (M.D. Fla. 2014).

   Therefore, summary judgment must be denied.


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                                           CONCLUSION

          For all the foregoing reasons, Plaintiff respectfully requests that this Court deny

   Defendants’ Joint Amended Motion for Summary Judgment and Incorporated Memorandum

   of Law in its entirety and grant such other relief as it deems just and proper.

                                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 10, 2017, I electronically filed the foregoing with

   the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

   filing to the following:

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